

NCO Fin. Sys. Inc v Liberati (2025 NY Slip Op 50735(U))




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NCO Fin. Sys. Inc v Liberati


2025 NY Slip Op 50735(U)


Decided on May 7, 2025


Supreme Court, Westchester County


Jamieson, J.


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on May 7, 2025
Supreme Court, Westchester County

NCO Financial Systems Inc, Petitioner,

againstThomas Liberati, Judgment Debtor, Capital One Bank, N.A., Respondent.

Index No. 55720/2025

James Olsen Law, LLC
Attorneys for Petitioner
82 Nassau Street, #9002 
New York, New York 10038
Capital One, N.A.
Respondent
853 Broadway
New York, New York 10003
Thomas Liberati


Linda S. Jamieson, J.

The following papers numbered 1 to 2 were read on this motion:
PaperNumber
Notice of Petition, Petition and Exhibits 1
Request to Adjourn Motion 2
Petitioner brings its petition seeking a judgment directing Capital One Bank, N.A. to pay to it the sum of $12,402.99 in partial satisfaction of the judgment entered on November 29, 2005, under Index Number 11278/2005, in the sum of $21,277.78.
Counsel for petitioner sought to adjourn the petition until April 2, 2025 (administratively adjourned until April 4th, as this Court's motions are returnable on Fridays) because it had not yet been able to serve the judgment debtor. The Court waited approximately one month past the new return date for the petition to see if petitioner had been able to serve him. However, the last document filed on NYSCEF for this matter is the adjournment request.
Accordingly, the Court must deny the petition, without prejudice. Should petitioner file a new petition and be able to serve both parties, it shall submit a proposed Order before the return date. Petitioner shall serve a copy of this Decision and Order on both parties by overnight mail within three business days of receipt.
The foregoing constitutes the decision and order of the Court.
Dated: May 7, 2025
White Plains, New York
HON. LINDA S. JAMIESON
Justice of the Supreme Court








